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                                    United States District Court
                                             WESTERN DISTRICT OF TEXAS
                                                 DEL RIO
                                                     RIO DIVISION
UNITED STATES OF AMERICA

          v.                                                     Case Number: DR:20-CR-01206(1)-AM
                                                                 USM Number: 60288-177
 1 TREVER LLOYD SEXTON


                Defendant


                                      JUDGMENT IN A CRIMINAL CASE
                                (For Offenses Committed On or After November 1, 1987)

               The defendant, (1) TREVER LLOYD SEXTON, was represented by Juan Neri III.

               On motion of the United States, the Court has dismissed Count Two.

            The defendant pled guilty to Count One of the Indictment on April 27, 2021. Accordingly, the defendant is
adjudged guilty of such Count, involving the following offense:

Title & Section                     Nature of Offense                      Offense Ended                           Count

18 U.S.C. § 2251(a) & (e)           Sexual Exploitation of Children        Between on or about December 1,        One
                                                                           2019 through February 19, 2020

           As pronounced on September 26, 2023, the defendant is sentenced as provided in pages 2 through 8 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

            It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney
of any material change in the defendant’s economic circumstances.

               Signed this 11th day of October, 2023.




                                                                                    Alia Moses
                                                                        CHIEF UNITED STATES DISTRICT JUDGE



Arresting Agency: HSI
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                                                      IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
term of Two Hundred Forty (240) months with credit for time served since April 21, 2020, pursuant to 18 U.S.C.
3584(a).

The Court makes the following recommendation to the Bureau of Prisons:

        That the defendant serve this sentence at F. C. I. Seagoville, if possible.

The defendant shall remain in custody pending service of sentence.




                                                           RETURN

     I have executed this Judgment as follows:




     Defendant delivered on                                           to
at                                                                         , with a certified copy of this Judgment

                                                                                           United States Marshal

                                                                                     By:
                                                                                                                             Deputy Marshal
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                                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of Eight (8) years.

        While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the
special conditions that have been adopted by this Court.

 X      The defendant shall reside in a residential reentry center for a period of up to six (6) months. The defendant shall
        follow the rules and regulations of the center. Further, once employed the defendant shall pay 25% of his/her
        weekly gross as long as it does not exceed the contract rate.

 X      The defendant shall abstain from the use of alcohol and any and all intoxicants.

 X      The defendant shall participate in a substance abuse treatment program and follow the rules and regulations of
        that program. The program shall include testing and examination to determine if the defendant has reverted to the
        use of drugs and alcohol. The probation officer shall supervise the participation in the program (provider,
        location, modality, duration, intensity, etc.). The defendant shall pay the costs of such treatment if financially
        able.

 X      The defendant shall not use or possess any controlled substances without a valid prescription. If a valid
        prescription exists, the defendant must disclose the prescription information to the probation officer and follow
        the instructions on the prescription.

 X      The defendant shall submit to substance abuse testing to determine if the defendant has used a prohibited
        substance. The defendant shall not attempt to obstruct or tamper with the testing methods. The defendant shall
        pay the costs of testing if financially able.

 X      The defendant shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
        substances (e.g., synthetic marijuana, bath salts, etc.) that impair a person’s physical or mental functioning,
        whether or not intended for human consumption.

 X      The defendant shall provide the probation officer with access to any requested financial information and
        authorize the release of any financial information. The probation office may share financial information with the
        U.S. Attorney’s Office.

 X      The defendant shall participate in a sex offense-specific treatment program and submit to periodic polygraph
        testing as a means to ensure compliance with the requirements of supervision or the treatment program. The
        defendant shall follow the rules and regulations of the program. The probation officer will supervise the
        defendant's participation in the program (provider, location, modality, duration, intensity, etc.) The defendant
        shall pay the costs of the program based on the defendant’s ability to pay.

 X      The defendant shall not have direct contact with any child the defendant knows or reasonably should know to be
        under the age of 18, including his own children, without the prior permission of the Court. If the defendant has
        any direct contact with any child the defendant knows or reasonably should know to be under the age of 18,
        including his own children, without the prior permission of the Court, the defendant must report this contact to
        the probation officer within 24 hours. Direct contact includes written communication, in-person communication,
        or physical contact. Direct contact does not include incidental contact during ordinary daily activities in public
        places.

 X      The defendant shall participate in a sex offense-specific assessment. The defendant shall pay the costs of the
        program based on the defendant's ability to pay.
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X       The defendant shall not possess and/or use computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic
        communications or data storage devices or media.

X       The defendant shall not access the Internet except for reasons approved in advance by the Court.

X       The defendant shall not communicate, or otherwise interact, with victim(s) in of case, either directly or through
        someone else, without the prior permission of the Court.

X       The defendant shall not go to, or remain at, a place for the primary purpose of observing or contacting children
        under the age of 18.

X       The defendant shall reside in a residence approved, in advance, by the Court. Any changes in the residence must
        be pre-approved by the Court.

X       The defendant shall not reside within 1,000 feet of the real property compromising a public or private
        elementary, vocational, or secondary school or playground or a housing authority owned by a public housing
        authority or within 100 feet of a public or private youth center, public swimming pool or video arcade facility,
        without prior approval of the Court.

X       The defendant shall submit his or her person, property, house, residence, vehicle, office, papers, computers (as
        defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, to a search
        conducted by a United States probation officer. Failure to submit to a search may be grounds for revocation of
        the terms of supervised release. The defendant shall warn any other occupants that the premises may be subject to
        searches pursuant to this condition. The probation officer may conduct a search under this condition in the
        normal course of their supervisory duties or functions. Any search shall be conducted at a reasonable time and in
        a reasonable manner.

X       The defendant shall allow the probation officer to install computer monitoring software on any computer (as
        defined in 18 U.S.C. §1030(e)(1)) the defendant uses.

X       To ensure compliance with the computer monitoring condition, the defendant shall allow the probation officer to
        conduct initial and periodic unannounced searches of any computers (as defined in 18 U.S.C. §1030(e)(1))
        subject to computer monitoring. These searches shall be conducted for the purposes of determining whether the
        computer contains any prohibited data prior to installation of the monitoring software; to determine whether the
        monitoring software is functioning effectively after its installation; and to determine whether there have been
        attempts to circumvent the monitoring software after its installation. The defendant shall warn any other people
        who use these computers that the computers may be subject to searches pursuant to this condition.
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                                                MANDATORY CONDITIONS

1.    The defendant shall not commit another federal, state or local crime during the term of supervision.
2.    The defendant shall not unlawfully possess a controlled substance.
3.    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
      test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as
      determined by the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if
      the defendant’s presentence report or other reliable sentencing information indicates low risk of future substance
      abuse by the defendant.
4.    The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of
      such a sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C.
      § 14135a).
 5.   If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification
      Act (34 U.S.C. § 20901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex
      offender registration agency in which the defendant resides, works, is a student, or was convicted of a qualifying
      offense.
6.    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an
      approved program for domestic violence.
7.    If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance
      with the Schedule of Payments sheet of this judgment.
8.    The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.    The defendant shall notify the court of any material change in defendant’s economic circumstances that might affect
      the defendant’s ability to pay restitution, fines, or special assessments.
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                                     STANDARD CONDITIONS OF SUPERVISED RELEASE

 1.    The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within 72
       hours of release from imprisonment, unless the Court or probation officer instructs the defendant to report to a different
       probation office or within a different time frame. The defendant shall not leave the judiial district without permission of the
       court or probation officer.
2.     After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed. The
       defendant shall report to the probation officer in a manner and frequency directed by the court or probation Officer.
3.     The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first getting
       permission from the court.
4.     The defendant shall answer truthfully the questions asked by the probation officer.
5.     The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives or
       anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
       probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a change or
       expected change.
6.     The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
       defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that
       are observed in plain view.
7.     The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
       excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full-time
       employment, unless excused from doing so. If the defendant plans to change where the defendant works or anything about his
       or her work (such as the position or job responsibilities), the defendant shall notify the probation officer at least 10 days before
       the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, the
       defendant shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
 8.    The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
       defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with that
       person without first getting the permission of the Court.
9.     If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within 72
       hours.
 10.   The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
       anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
 11.   The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission of the court.
 12.   If the probation officer determines that the defendant poses a risk to another person (including an organization), the Court may
       require the defendant to notify the person about the risk and the defendant shall comply with that instruction. The probation
       officer may contact the person and confirm that the defendant has notified the person about the risk.
 13.   The defendant shall follow the instructions of the probation officer related to the conditions of supervision.
 14.   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
       in accordance with the Schedule of Payments sheet of the judgment.
 15.   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is the condition of
       supervision that the defendant shall provide the probation officer access to any requested financial information.
 16.   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
       supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
       the probation officer, unless the defendant is in compliance with the payment schedule.
 17.   If the defendant is excluded, deported, or removed upon release on probation or supervised release. the term of supervision shall
       be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States. If the
       defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of probation or
       supervised release, the defendant shall immediately report in person to the nearest U.S. Probation Office, or as ordered by the
       Court.
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                                                   CRIMINAL MONETARY PENALTIES / SCHEDULE

              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those
payments made through Federal Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the
Clerk, United States District Court, Attn: Mail Log, 111 E. Broadway Ste. 100, Del Rio, Texas 78840, or online by Debit
(credit cards not accepted) or ACH payment (direct from Checking or Savings Account) through pay.gov (link accessible
on the landing page of the U.S.District Court's Website). Your mail-in or online payment must include your case
number in the exact format of DTXW220CR001206-001 to ensure proper application to your criminal monetary
penalty.

                    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

                         Assessment                     Fine                       Restitution                   AVAA Assessment *                            JVTA Assessment **
TOTAL:                    $100.00                    $10,000.00                      $0.00                            $0.00                                         $0.00


                                                                                   Special Assessment

            It is ordered that the defendant shall pay to the United States a special assessment of $100.00. The debt is
incurred immediately.

                                                                                                Fine

              The defendant shall pay a fine of $10,000.00. The Court finds the defendant has the present and future
ability to pay a reduced fine.


                                                                                  Schedule of Payments

             Payment shall be made at the rate of no less than $125.00 per month, due by the third day of each month
beginning no earlier than 60 days after release from imprisonment. The Court imposed payment schedule shall not
prevent statutorily authorized collection efforts by the U.S. Attorney. The defendant shall cooperate fully with the U.S.
Attorney and the U.S. Probation Office to make payment in full as soon as possible.


                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.
                     If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.
                   The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).
                    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest,
(7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.
                    Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but
before April 23, 1996.
                    * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
                    **Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
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                                                      FORFEITURE

The Court ORDERS the defendant's rights, title, and interest in the following property forfeited to the United States.

1. Galaxy Note 9 Model SM-N960U cell phone with Android ID addl30aee4cbf814; and
2. Bluetooth Speaker
